 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 1 of 23 PageID: 1




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

 MONICA MUNHOZ GOMES, Individually,                 :
 and as Administrator Ad Prosequendum of            :
 the ESTATE OF RENATO ROBERTO                       :
 GOMES,                                             :
 Deceased,                                          :
                                                    :
                                Plaintiff,          :
                                                    :
                       v.                           : CIVIL ACTION NO.
                                                    :
 KLIDJAN BOZALI, JAG LEASING, INC.,                 :
 KAG LEASING, INC., JOHN and JANE                   :
 DOES 1-10 (said names being fictitious and         :
 unknown) and ABC CORPORATIONS 1-10                 :
 (fictitious individuals, corporations or other     :
 business entities presently unidentified),         :
                                                    :
                                Defendants.         :


                                      NOTICE OF REMOVAL
         Please take notice that Defendants Klidjan Bozali and KAG Leasing, Inc. file this Notice

of Removal and hereby remove to this Court the state court action described below, pursuant to

28 U.S.C. §§ 1332, 1441, and 1446.


    I.        STATEMENT OF THE CASE

         1.        On or about February 5, 2019, Plaintiff Monica Munhoz Gomes, Individually, and

as Administrator Ad Prosequendum of the Estate of Renato Roberto Gomes, Deceased

(“Plaintiff”) commenced this action by filing suit in the Superior Court of New Jersey, Essex

County, entitled Monica Munhoz Gomes v. Bozali, et al., Docket No. ESX-L-0983-19. See

Exhibit “A”, a true and correct copy of Plaintiff’s Complaint.

         2.        The defendants named in the suit are Klidjan Bozali (“Bozali”), KAG Leasing,

Inc. (“KAG”), and JAG Leasing, Inc. JAG Leasing, Inc. does not exist or, at the very least, is



LEGAL\39999715\1
    Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 2 of 23 PageID: 2




not an existing company that is in any way affiliated with KAG, Bozali, or this incident as the

averments of the Complaint suggest. As such, JAG Leasing, Inc. will be disregarded for

purposes of this Notice.

         3.        The Summons and Complaint were served on KAG and Bozali on February 14,

2019. Pursuant to 28 U.S.C. §1446(a), a true and correct copy of the Summonses served on

KAG and Bozali, respectively, are attached hereto collectively as Exhibit “B”.

         4.        Per the Complaint, as best as defendants can decipher, Plaintiff is a resident of

New Jersey. See Ex. A, First Count, ¶¶ 1 and 12.
         5.        KAG is a corporation that is incorporated in Delaware and, per the Complaint, has

its principal place of business in Ohio, as well. To be clear, KAG is not an LLC nor a citizen of

New Jersey.

         6.        Bozali is a citizen of Pennsylvania, which is also the state in which he was served.

To be clear, Bozali is not a citizen of New Jersey.

         7.        Accordingly, this is an action by a (upon information and belief) New Jersey

resident against a non-New Jersey corporate entity and a non-New Jersey individual.1

         8.        Plaintiff’s Complaint seeks relief arising out of a July 10, 2018 incident involving

Bozali and Plaintiff’s decedent whereby decedent was struck while riding his bicycle on Adams

Street, at or near its intersection with Thomas Street, City of Newark, County of Essex and State

of New Jersey. See Ex. A, First Count, ¶ 10.

         9.        Plaintiff contends that decedent was killed as a result of this collision with Bozali.

Id. ¶ 11.

         10.       As a result, Plaintiff brings causes of action for, among other things, wrongful

death and survivorship, and seeks damages in connection therewith. See generally Ex. A.



1
          Pursuant to 28 U.S.C. § 1441(b)(1), “[i]n determining whether a civil action is removable on the basis of
the jurisdiction under section 1332(a) of this title, the citizenship of defendants sued under fictitious names shall be
disregarded.” As such, “defendants” John and Jane Does 1-10 and ABC Corporations 1-10 need not be considered
in this analysis.

                                                            2
LEGAL\39999715\1
 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 3 of 23 PageID: 3




        11.        Because the parties are diverse and the relief sought exceeds, upon information

and belief, the $75,000 amount-in-controversy requirement, this action is within the diversity

jurisdiction of this Court, and removal is proper, as further detailed below.

II.     BASIS FOR REMOVAL

        12.        Plaintiff alleges causes of action for wrongful death and survivorship arising from

the above-referenced July 10, 2018 collision. See generally Ex. A.


      A. COMPLETE DIVERSITY JURISDICTION EXISTS


        13.        Under 28 U.S.C. § 1332(a), diversity jurisdiction exists if the action is between

citizens of different/foreign states and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs.

        14.        Plaintiff is, upon information and belief, an individual and citizen of the State of

New Jersey. See Ex. A at ¶¶ 1, 12; see also Snyder v. Harris, 394 U.S. 332, 340 (1969)

(residence of plaintiff determinative of citizenship for diversity jurisdiction).

        15.        According to 28 U.S.C. § 1332(c)(1), a corporation is “a citizen of any State by

which it has been incorporated and of the State where it has its principal place of business.”
(Emphasis added).

        16.        KAG is a corporation incorporated in Delaware, and its principal place of

business is located in Ohio.

        17.        Bozali resides at 3350 S. Front Street, Whitehall, PA 18052. As such, he is a

citizen of the Commonwealth of Pennsylvania.

        18.        Accordingly, there is complete diversity of citizenship between Plaintiff (New

Jersey resident) and defendants (Delaware/Ohio corporation and Pennsylvania individual).

        19.        Removal is proper within 30 days of receiving service of the Complaint. See 28
U.S.C. § 1446(b).



                                                     3
LEGAL\39999715\1
 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 4 of 23 PageID: 4




         20.       Service upon defendants was effectuated on February 14, 2019, less than 30 days

before the filing of the within Notice of Removal.

       B. THE AMOUNT IN CONTROVERSY EXCEEDS THE JURISDICTIONAL
          MINIMUM OF THIS COURT

         21.       Defendants dispute they are liable for any amount whatsoever related to the

matter in controversy; however, it appears from the Complaint that Plaintiff will allege that her

claims will exceed $75,000, insofar as:
                   (a)    Plaintiff claims decedent suffered “serious physical injuries and death” as

         a result of the subject incident. Ex. A, First Count, ¶ 10.

                   (b)    Plaintiff claims decedent as a result of the incident “sustained severe and

         permanent personal injuries of body, mind and motion, resulting in death, endured

         excruciating pain and suffering over a prolonged period, became disabled and impaired,

         incurred liabilities for medical care and treatment, lost employment earnings, and

         suffered a significant diminution in the quality and enjoyment of life.” Id. ¶ 11.

                   (c)    Plaintiff claims that as a result of the incident she and her children have

         “suffered devastating losses, including economic losses.” Id., Third Count, ¶ 3.

                   (d)    Plaintiff claims that as a result of the incident she is “liable for and, in fact,

         paid for the funeral and burial expenses and charges for decedent.” Id., Fourth Count, ¶
         2.

       C. PROPER VENUE

         22.       Venue for the purpose of removal is proper in this district under 28 U.S.C.

§ 1446(a) because the United States District Court, District of New Jersey (Newark) is the

judicial district embracing Essex County, where the state court action was brought.

III.     JURY DEMAND

         23.       Plaintiff requested a trial by jury in the Complaint. See Ex. A.


                                                      4
LEGAL\39999715\1
 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 5 of 23 PageID: 5




IV.     NOTICE OF REMOVAL GIVEN TO STATE COURT

        24.        Counsel for KAG and Bozali will, upon filing this Notice of Removal, file a copy

of the Notice of Removal with the Superior Court of New Jersey, Essex County, and will serve a

copy of same upon Plaintiff’s counsel, as required by 28 U.S.C. § 1446(d).

V.      NO WAIVER

        25.        KAG and Bozali hereby assert that this removal in no way constitutes: a waiver of

any jurisdictional defenses to Plaintiff’s claims; a waiver of any defense or contest to the validity

and effectiveness of service of process upon KAG and Bozali; a waiver of the statute of

limitations defense; a waiver of the defense that KAG and Bozali are not proper parties to this

lawsuit; or a waiver of any other defenses, counterclaims, or challenges to the Complaint.

V.      CONCLUSION


        This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332. The instant action is

between citizens of different states and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs. Accordingly, removal of this action is proper pursuant

to 28 U.S.C. § 1441(b). KAG and Bozali respectfully request that further proceedings in the

state court action be discontinued and the state action be removed to the United States District

Court for the District of New Jersey (Newark).

        WHEREFORE, Defendants KAG Leasing, Inc. and Klidjan Bozali respectfully request

that the above-described action pending in the Superior Court of New Jersey, Essex County, be

removed to the United States District Court, District of New Jersey (Newark).


                                                COZEN O’CONNOR

                                                By: /s/ Paul K. Leary, Jr.
                                                       Paul K. Leary, Jr.
                                                       Dylan M. Alper
                                                       One Liberty View

                                                   5
LEGAL\39999715\1
 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 6 of 23 PageID: 6




                                         457 Haddonfield Road, Suite 300
                                         Cherry Hill, NJ 08002
                                         (856-910-5000)
                                         PLeary@cozen.com
                                         DAlper@cozen.com
                                         Attorneys for Defendants Klidjan Bozali
                                         and KAG Leasing, Inc

Dated: March 6, 2019




                                     6
LEGAL\39999715\1
 Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 7 of 23 PageID: 7




                                CERTIFICATE OF SERVICE
        I certify that the foregoing Notice of Removal was served on counsel for plaintiff on

March 6, 2019 via first-class mail, postage prepaid, addressed as follows:

                                 Robert H. Baumgarten, Esquire
                            Ginarte Gallardo Gonzalez Winograd LLP
                                        400 Market Street
                                       Newark, NJ 07103
                                      Attorney for Plaintiff



                                             /s/ Paul K. Leary, Jr.
                                             Paul K. Leary, Jr.




                                                7
LEGAL\39999715\1
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 8 of 23 PageID: 8




                     Exhibit A
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 9 of 23 PageID: 9
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 10 of 23 PageID: 10
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 11 of 23 PageID: 11
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 12 of 23 PageID: 12
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 13 of 23 PageID: 13
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 14 of 23 PageID: 14
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 15 of 23 PageID: 15
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 16 of 23 PageID: 16
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 17 of 23 PageID: 17
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 18 of 23 PageID: 18
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 19 of 23 PageID: 19




                      Exhibit B
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 20 of 23 PageID: 20
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 21 of 23 PageID: 21
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 22 of 23 PageID: 22
Case 2:19-cv-07985-JMV-MF Document 1 Filed 03/06/19 Page 23 of 23 PageID: 23
